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            EXHIBIT A
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                                                     STRATEGIC SUPPLIER AGREEMENT


      This Strategic Supplier Agreement (“Agreement”) is effective October 1, 2017 (the “Effective Date”) and is between
      Honeywell International Inc., on behalf of itself and its affiliates (“Honeywell”), and Shinano Kenshi Co., Ltd., a Japan
      Company, on behalf of itself and its affiliate, Shinano Kenshi Corporation, a California corporation (“Supplier”).
      In consideration of the mutual covenants, obligations and promises in this Agreement, the parties agree as follows:
                                                                 AGREEMENT
      1.0       SCOPE OF AGREEMENT. Supplier will sell Honeywell the products listed on Exhibit A (the “Products”) together
                with related services, if any. This Agreement does not specify a quantity of Products to be purchased by
                Honeywell, does not obligate Honeywell to purchase any Products, and is not an exclusive purchasing agreement.
      2.0       TERM AND TERMINATION.
      2.1       This Agreement will begin on the Effective Date and remain in effect for three (3) years (the “Term”) and will
                automatically renew for successive one-year periods unless earlier terminated as set forth below.
      2.2       Either party may immediately terminate this Agreement in the event (a) of a material breach by the other party
                of its obligations under this Agreement or any Purchase Order (defined below) which remains uncured 30 days
                after receipt of the notice of breach, except in the case of breach related to safety, health, security, or any misuse
                or disclosure of Honeywell’s intellectual property rights or Confidential Information, Honeywell will have the right
                to immediately terminate this Agreement, (b) the other party becomes insolvent or suspends any of its operations
                or if any petition is filed or proceeding commenced by or against such party under any law relating to bankruptcy,
                arrangement, reorganization, receivership or assignment for the benefit of creditors, or (c) the other party
                breaches its obligations under any applicable export laws or is placed on any debarred list for violation of any
                applicable export control laws or regulations. Honeywell may immediately terminate if Supplier experiences a
                Change of Control. “Change of Control” means (whether in a single transaction or in a series of transactions): the
                sale or transfer of all or substantially all of a party’s assets or any material asset to any third party; the acquisition
                of a party by any third party or parties including, without limitation, by any reorganization, merger or
                consolidation, whether with or into any other third party or parties or otherwise; or the acquisition by a third
                party or parties of beneficial ownership of more than 50% of the voting power of a party. If a termination by
                Honeywell for breach by Supplier is determined to have lacked cause, such termination will be treated as a
                termination for convenience under Section 2.3 below.
      2.3       Honeywell may terminate this Agreement for convenience upon 30 days’ prior written notice. Honeywell may
                terminate any Purchase Order without liability on the part of Honeywell upon 30 days’ prior written notice.
      2.4       Termination is without liability to Honeywell except for payment for completed Products delivered and accepted
                by Honeywell before the date of termination; provided that if Honeywell terminates this Agreement under Section
                2.3 above, Honeywell’s sole liability to Supplier, and Supplier’s sole and exclusive remedy, is payment for (A)
                Products received and accepted by Honeywell before the date of termination, and (B) with respect to custom
                Products that are within lead time under the terminated Purchase Order(s), unique raw materials, work in
                progress and finished Products, which shall be delivered to Honeywell. Honeywell’s payments to Supplier can be
                set off against damages to Honeywell. Upon termination, Honeywell may, in addition to any other rights it may
                have, require Supplier to deliver to Honeywell (a) completed Products (subject to Honeywell’s obligation to pay
                for them); and (b) drawings, specifications, plans, information, hardware and software that Supplier has produced
                or acquired specifically for the performance of this Agreement or any Purchase Order. Supplier must supply the
                Products in accordance with the terms of this Agreement for Purchase Orders issued, but unfulfilled, prior to any
                termination or expiration of this Agreement.
      2.5       At Honeywell’s request, Supplier will provide for a period up to 6 months after termination or expiration of this
                Agreement, reasonable termination/expiration assistance requested by Honeywell to allow the manufacture of
                the Products to continue without interruption or adverse effect and to facilitate the orderly transfer of the
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                manufacture of the Products (“Supplier Assistance”). Supplier Assistance will be provided at a mutually agreed
                cost and will include the following:
                (a)       Within 30 days after a request from Honeywell, Supplier will provide a complete plan for operational
                          turnover that enables a smooth transition of the functions performed by Supplier under this Agreement
                          to Honeywell or a successor vendor (“Turnover Plan”). Upon Honeywell’s approval of the Turnover Plan,
                          Supplier will provide Supplier Assistance in accordance with such Turnover Plan.
                (b)       Supplier will attend periodic review meetings called by Honeywell, during which the parties at a minimum
                          will review Supplier’s performance of Supplier Assistance, including the completion of tasks and
                          deliverables set forth in the Turnover Plan.
      2.6       Notwithstanding any termination or expiration of this Agreement, those provisions which by their very nature are
                intended to survive the termination or expiration of this Agreement will so survive such termination or expiration,
                including without limitation Sections 2, 10 -12, 15-19, and 24.
      3.0       PRODUCT PURCHASES.
      3.1       Honeywell and each of its business units, divisions, affiliates and subsidiaries worldwide may order Products and
                related services, if any, by means of individual purchase orders (“Purchase Orders”) and such sales shall be subject
                to the terms of this Agreement. Any terms specific to such purchases different from those contained in this
                Agreement will be evidenced by a separate mutually agreed writing which references this Agreement.
      3.2       Each Purchase Order will be deemed immediately accepted and binding upon Supplier, unless it requires
                delivery of Products in less than the Lead Time (as defined in Section 6.1), or if the delivery quantity
                exceeds the Minimum Stocking Level, or if the price is inaccurate, as listed in Exhibit A, in which case
                Supplier may reject such Purchase Order within 2 business days of receipt.
      3.3       Purchase Orders will be governed exclusively by the terms and conditions of this Agreement and any additional
                or different terms and conditions contained in any Purchase Order, Purchase Order acknowledgment or
                acceptance are not binding on either party.
      3.4       Purchase Orders may be communicated by Honeywell to Supplier via any method agreed upon by the parties. The
                parties will not contest the validity or enforceability of Purchase Orders transmitted electronically under the
                provisions of any law requiring that contracts be in writing and signed by the party to be bound.
      3.5       Intentionally omitted.
      3.6       Supplier will provide Honeywell with (a) the Harmonized Tariff Schedule number, country of origin information or
                certificates, manufacturer’s affidavits, applicable free trade agreement (“FTA”) certificates, and any other
                documents or information Honeywell may require to comply with international trade regulations or to lawfully
                minimize duties, taxes, and fees, and (b) FTA certificates for all Products that qualify under one or more FTAs.
                Supplier will provide Honeywell all documents, records, and other supporting information necessary to
                substantiate the Products’ qualification under an FTA. Supplier will exert reasonable efforts to qualify the Products
                under FTAs.
      4.0       PRODUCT COMPONENTS.
      4.1       Supplier is responsible for obtaining all raw materials, components, and services required by Supplier to perform
                under this Agreement (“Components”). Honeywell may, in its sole discretion, direct Supplier to purchase
                Components from Honeywell affiliates, subsidiaries, business units or divisions or third party suppliers
                (“Honeywell Provider”). Where the Components are purchased under a Honeywell negotiated pricing agreement
                with a third party, such Components are for the sole use of Supplier in the manufacturing process pursuant to this
                Agreement, and will not be resold (whether in the form acquired or after incorporation into other goods) to any
                party other than a Honeywell business unit, subsidiary, or Honeywell designee (“Designee”).
      4.2       Supplier will sell the Products covered under this Agreement to Designees, if so directed, under the same terms
                and conditions of this Agreement.
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      4.3       Honeywell has no liability for any transactions between Supplier and a Honeywell Provider or Designee and
                Supplier will not look to Honeywell for fulfillment of any obligations of a Honeywell Provider or
                Designee. Regardless of whether Honeywell directs Supplier to use a specific Honeywell Provider, Supplier is
                solely responsible to ensure that all Components meet required specifications, operate as intended and are free
                from all defects in workmanship and materials. Supplier is solely liable if a Component fails to conform to
                applicable specifications or is otherwise defective.
      4.4       From time to time, Honeywell may provide recommendations and/or assistance to Supplier with respect to
                Supplier’s manufacturing processes, assembly operations, supply chain management and other Supplier
                operations, procedures and processes (the “Processes”). Regardless of such assistance or recommendations,
                Supplier is solely liable for the Processes and the results of such Processes including, without limitation, costs
                associated with the Processes and Products produced from such Processes.
      5.0       PRODUCT AND MANUFACTURING CHANGES.
      5.1       Supplier will not make any changes in the design, materials, manufacturing location, manufacturing equipment,
                production process, changes between a manual and automated process, subcontracting any processes, or any
                other processes related to the Products, their labeling or packaging without Honeywell’s prior written approval.
                This requirement applies whether or not the change affects costs and regardless of the type of change, including
                Product improvements. Supplier will notify Honeywell of any such potential changes promptly as it becomes
                aware of them. To request approval, Supplier will provide a plan to Honeywell at least 6 months in advance of
                any such change, including without limitation, the retirement of any Product. Any such plan is subject to
                Honeywell’s written approval and must demonstrate that Supplier has taken all necessary actions to avoid
                negative impacts to Honeywell, including, but not limited to, maintaining additional inventory, overlapping
                production schedules, etc. Such price reductions will be agreed to by Supplier and Honeywell prior to
                implementation. At Honeywell’s option, Supplier will reimburse Honeywell for all expenses incurred by Honeywell
                related to costs of re-qualification of Products resulting from manufacturing location changes or any material,
                design or sub-tier supplier change. Supplier will afford Honeywell the opportunity to purchase any quantity of
                any retired Product as a last-time buy, on the pricing set forth in this Agreement and pursuant to the terms and
                conditions of this Agreement, and Honeywell may schedule delivery for any time during the subsequent 2 years.
                Suppler will flow down this requirement in all its subcontracts and purchase orders for purchased goods or
                process-related services required for the Products, whether such Products are supplied to Supplier as an end item,
                a component part of an end item, or an individual piece part.
      5.2       Supplier will actively work with each Component Manufacturer to determine if any changes or discontinuance of
                any Component will occur (“Provider Change”). If any Provider Change is planned, then Supplier will provide
                Honeywell with as much advance written notice as possible and, subject to Honeywell’s prior written approval:
                (a) establish an end-of-life quantity last time buy; and (b) identify and procure alternate replacement items.
                Honeywell may schedule delivery for any time during the subsequent 2 years.
      5.3       If requested by Honeywell to make a change to a Product specification or design, Supplier will not unreasonably
                refuse to make the change and within 14 days of the request will notify Honeywell of any proposed price change
                on the Product. If Honeywell accepts the new price, Honeywell will notify the Supplier in writing and Supplier will
                implement the change within a mutually agreed-upon time frame.
      5.4       Supplier will continue to make available to Honeywell spare Products (“Spares”) for a period of 5 years after the
                date on which this Agreement is terminated. Spares will be provided on mutually agreed upon terms and pricing,
                substantially equivalent to those set out in this Agreement, and based on a one-time, Last Time Buy Purchase
                Order, which deliveries may be scheduled over the 5-year term.
      5.5       Supplier grants to Honeywell a right of first refusal with respect to each and every proposed Change of Control
                such that Honeywell may consummate a transaction substantially similar in all material respects to and in lieu of
                such Change of Control. Supplier must give Honeywell at least 60 days written notice prior to any proposed
                Change of Control. Such notice must contain all material terms of the proposed Change of Control.

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      6.0       PRODUCT LEAD TIME.
      6.1       The time period between Honeywell notification to Supplier of Product requirements and the date Product is
                available for shipment (“Lead Time”) will not exceed the lead-times set forth on Exhibit A. Honeywell may modify
                or cancel a Purchase Order for Product if Supplier cannot meet this Lead Time requirement. Supplier will establish
                a stocking program in accordance with the terms set forth on Exhibit B.
      6.2       Supplier agrees to work to written forecasts issued by Honeywell upon request (“Forecasts”) and to manage its
                build schedule and/or inventory to accommodate fluctuations in the Forecasts to ensure an uninterrupted flow
                of Products to Honeywell. Forecasts are not purchasing commitments and do not bind or obligate Honeywell in
                any way.
      7.0       REPORTING; REQUIREMENT TO NOTIFY.
      7.1       Supplier will monitor and report, as required by Honeywell, the following metrics by delivery location: on-time
                delivery performance, Product volume, backlog reports, defects and defect resolution, lead times, productivity
                improvements, and other metrics to be mutually defined. Supplier will attend performance reviews at which it
                will present data regarding its compliance with the terms of this Agreement. Such reviews will be held at a
                frequency determined by Honeywell, but no more frequently than quarterly.
      7.2       As requested by Honeywell, Supplier will provide Honeywell with reports demonstrating Supplier’s financial
                stability that are attested to by an officer of Supplier or an accounting firm representing Supplier and in a mutually
                agreed format.
      8.0       PRODUCT QUALITY.
      8.1       Supplier will provide Honeywell with proposals for continuous Product quality improvement on an annual basis
                and Supplier and Honeywell will develop an agreed-upon quality improvement plan. Supplier will have in place a
                continuous improvement strategy which incorporates measurements and reporting for product cost, quality,
                delivery and service and will provide documentation relating to the continuous improvement strategy to
                Honeywell upon request.
      8.2       Supplier will investigate and report to Honeywell on the cause of any Product defects within 30 days of knowledge
                of the defect. The parties will agree on the long and short term solutions Supplier will implement to correct the
                root cause of the defects. Supplier will provide a Return Material Authorization number within 24 hours of
                notification of defect by Honeywell.
      8.3       Supplier must have the following supply management tools in place: a supplier evaluation tool; a supplier
                corrective action system; a defect tracking system to identify problem suppliers, commodities and parts; and a
                receiving inspection plan that verifies that the raw materials and Product parts received by Supplier meet
                applicable drawings and requirements of this Agreement. Supplier will maintain records demonstrating
                compliance with this Section during the Term and for 2 years thereafter and will provide such records to Honeywell
                at any time upon Honeywell’s request.
      8.4       Prior to shipment, Supplier will test all Products in accordance with mutually agreed testing, measurement and
                inspection procedures. Honeywell, and its customers, may from time to time attend Supplier’s facility to observe
                or participate in such testing. All Supplier Product test and inspection records will be available to Honeywell at
                any time during the Term and for 2 years thereafter upon Honeywell’s request.
      8.5       Supplier will comply with the quality system and quality assurance procedures set forth in Exhibit C. If the
                Products are listed with or it becomes necessary, in Honeywell’s sole opinion, to list/certify the Products with any
                international industrial standards association, Supplier will, at its sole cost, take such actions as are necessary to
                maintain/obtain such listing/certification at all times. If Supplier fails to pass any audit by such standards
                association, then Supplier will pay for the re-audit by the applicable standards association. Such re-audit will occur
                as soon as possible. Supplier is liable for any damages incurred by Honeywell as a result of Supplier’s failure to
                pass such audit and any re-audit. If any materials or component parts that comprise a listed/certified Product are,
                for any reason, not available and must be replaced by an alternative material or component part, Supplier will pay
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                for any costs related to relisting/recertifying such Product. Such relisting/recertifying will occur as soon as
                possible. Supplier is liable for any damages incurred by Honeywell as a result of Supplier’s delay in obtaining such
                relisting/recertification. Supplier will provide Honeywell with at least 90 days written notice prior to the
                termination of any Product listing/certification.
      9.0       PRODUCTIVITY.
      9.1       Supplier will identify annual productivity gains of a minimum of 1% per year without degradation of Product
                quality and will pass these productivity gains along to Honeywell in the form of an annual price reduction for
                Products. This annual price reduction will be reflected in the Product prices in accordance with Section 11.
      9.2       Supplier will seek out and advise Honeywell of price reduction opportunities in areas including, without limitation:
                Supplier-assisted value engineering suggestions and lean enterprise initiatives approved by Honeywell; parts
                redesigns; material improvements or substitutions; packaging improvements; assembly or processing
                improvements; process improvements; reductions in cost of poor quality; reductions in transportation costs;
                tooling improvements or innovation; cycle time or lead time reduction; raw material and component price
                reductions; negotiated price reductions from Supplier’s vendors; or digitization. In addition, Supplier will support
                any supplier development processes implemented by Honeywell.
      9.3       Supplier will submit a quarterly productivity report to Honeywell including status updates on open initiatives and
                performance results.
      10.0      RIGHT OF AUDIT. Honeywell will be entitled to send, at its own expense and on reasonable prior notice,
                representatives to Supplier’s facility to perform Product quality audits, review related documentation, and
                conduct other business relating to this Agreement. Supplier will provide facility access to Honeywell’s
                representatives and will provide reasonably required documentation to fulfill the purpose of such visits.
                Honeywell’s representatives will abide by Supplier’s generally applicable rules and regulations during such facility
                visits. Honeywell’s representatives may include Honeywell’s customers and higher tier contractors. Supplier will
                maintain, and will provide Honeywell upon request with, documentation that authenticates traceability of the
                manufacturers utilized by Supplier to obtain all Products and Components under any Purchase Order.
      11.0      PRICING.
      11.1      Pricing of Products will be as set forth on Exhibit A. These prices include all taxes and other governmental charges
                and customs duties and are firm for the Term and no surcharges or price changes will be demanded by Supplier
                or paid by Honeywell. To the extent that value added tax (or any equivalent tax) is properly chargeable on the
                supply to Honeywell of any Products, Honeywell will pay the tax as an addition to payments otherwise due
                Supplier under this Agreement, if Supplier provides to Honeywell a value-added tax (or equivalent tax) invoice.
                To the extent Honeywell has not received from Supplier all applicable forms regarding compliance with applicable
                tax law, Honeywell reserves the right to deduct from any payment to Supplier pursuant to this Agreement those
                amounts that Honeywell, in its sole discretion, deems to be required to be withheld in order to comply with the
                tax laws of any applicable jurisdiction. Supplier will update Exhibit A per the productivity-based price reduction
                required by Section 9.1 throughout the Term. Supplier and Honeywell shall review pricing not less frequently than
                once per calendar year. Supplier shall make commercially reasonable efforts to reduce pricing to Honeywell. Upon
                the agreement of the parties to reduced pricing for the Products, such pricing shall immediately apply to all
                Products in consignment or under a stocking arrangement with Supplier, all undelivered Products, all open and
                unfilled Purchase Orders, all future Purchase Orders and all unconsumed inventory owned by Honeywell.
      11.2      Supplier warrants that the prices charged for the Products delivered under this Agreement are the lowest prices
                charged by Supplier for similar goods where volume levels are substantially similar to or less than Honeywell’s
                volume. If Supplier charges a lower price for similar goods, Supplier must notify Honeywell and apply that price
                to all Products ordered under this Agreement. As directed by Honeywell, Supplier will provide the Products at the
                prices applicable under this Agreement, subject to terms and conditions of this Agreement, to other Honeywell
                divisions and affiliates and any third-party Honeywell sub-supplier or designee.

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      11.3      Honeywell may deduct any amount owing from Supplier to Honeywell as a set off against any amount due or
                owing to Supplier.
      11.4      If Honeywell takes measures that result in a decrease in Supplier’s cost of raw materials or Product parts, then the
                Product prices will be decreased in proportion to the cost savings it realizes for the affected Products.
      11.5      Payment terms are net 75 days from the later of Honeywell’s (a) receipt of a correct invoice and (b) receipt of
                conforming Products or services; provided, however, that in the event that applicable law requires a payment
                terms period of shorter duration, payment terms shall be the maximum period allowed by applicable law.
                Payment of all undisputed amounts will be made in United States Dollars or in such other currency identified on
                Exhibit A for the respective Product and in the first monthly payment cycle following expiration of the net payment
                term. Payment of an invoice does not constitute acceptance of the Products shipped or the services rendered, if
                any.
      11.6      After each shipment made or service provided, Supplier will submit to the address indicated on the Purchase
                Order an invoice listing a description of the Products provided and, as applicable, part numbers, quantity, unit of
                measure, hours, and the unit and total prices. This invoice must match the corresponding Purchase Order pricing,
                quantities, and terms, and must be sent to the invoice address listed on the Purchase Order. All applicable taxes
                and other Government charges including, but not limited to, sales, use, or excise taxes, value added tax, customs
                duties, fees and all incidental charges including but not limited to royalties, selling commissions, nonrecurring
                engineering, or other incidental charges must be separately itemized and identified on the invoice. The invoice
                must also include the following information in English, or in the destination country’s official language if required:
                (a) name and address of Supplier and the Honeywell entity purchasing the Products; (b) name of shipper (if
                different from Supplier); (c) Honeywell’s Purchase Order number(s); (d) country of export; (e) detailed description
                of the Products; (f) Harmonized Tariff Schedule number; (g) country of origin (manufacture) of the Products, or if
                multiple countries of origin, the country of origin of each part shipped; (h) weights of the Products shipped; (i)
                currency in which the sale was made; (j) payment terms; (k) shipment terms used; and (l) all rebates or discounts.
                The invoice will be accompanied (if applicable) by a signed bill of lading or express receipt evidencing shipment.
      12.0      DELIVERY, PACKING AND SHIPPING.
      12.1      TIME IS OF THE ESSENCE. Supplier will maintain an on-time delivery performance of 100% to agreed locations and
                times. Honeywell reserves the right to change delivery schedules and temporarily suspend scheduled shipments,
                beyond the replenishment lead time of 5 business days. Honeywell may schedule delivery, at no extra cost to
                Supplier, during weekends, or outside of normal business hours, unless the delivery is due to a late shipment by
                Supplier, in which case the additional costs shall be borne by the Supplier. Honeywell may return or store at
                Supplier’s expense any Products delivered more than 5 days in advance of the specified delivery date. Honeywell
                reserves the right to reject, at no expense to Honeywell, all or any part of any delivery that varies from the quantity
                authorized by Honeywell for shipment. Honeywell reserves the right to pursue additional remedies caused by
                delayed or missed delivery, including but not limited to incremental freight expenses incurred by Honeywell for
                shipments of Products to Honeywell. Supplier will not make any substitutions without Honeywell’s prior written
                approval. Honeywell will not be liable for any discharge, spill or other environmental incident or condition
                (including clean-up costs) involving any Products shipped under this Agreement unless caused by Honeywell and in
                no event until delivery to the destination designated by Honeywell. All containers will be properly marked for
                identification as instructed on Honeywell’s Purchase Order and contain a packing slip that details, at a minimum,
                the Honeywell Purchase Order number(s), product part number, detailed product description, country of origin,
                total number of boxes in shipment, quantity of product shipped, and final delivery address. Items shipped in
                advance of Honeywell's delivery schedule may be returned at Supplier's expense. For domestic shipments, if
                requested by Honeywell, and for all international shipments, Supplier will give notice of shipment to Honeywell
                when the Products are delivered to a carrier for transportation. The Purchase Order number(s) must appear on all
                correspondence, shipping labels, and shipping documents, including all packing sheets, bills of lading, and air
                waybills. Within one business day after Supplier delivers the Products to the carrier or at such earlier time as
                Honeywell may request, Supplier will send Honeywell a complete set of shipping documents including but not

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                limited to the commercial invoice, packing list, and air waybill, or three original parts of the combined through-bill
                of lading, clean without notation, necessary to release the Products to Honeywell’s custody.
      12.2      Unless otherwise specified on the face of the Purchase Order or in a separate signed agreement, all Products will
                be shipped (domestically and internationally) using Honeywell’s preferred carriers on a collect basis. For domestic
                purchases within the U.S., all shipments are F.O.B. (Uniform Commercial Code) Supplier’s Dock unless otherwise
                specified on the face of the Purchase Order or in a separate signed agreement, and title to Products passes to
                Honeywell upon delivery of the Products at Supplier’s Dock. In all other cases, unless otherwise specified on the
                face of the Purchase Order or in a separate signed agreement, (a) Supplier will deliver the Products Ex Works
                (INCOTERMS 2010), and (b) title to Products passes to Honeywell upon delivery of the Products by or on behalf of
                Supplier at Supplier’s Dock.
      12.3      Notwithstanding the foregoing, title and risk of loss to Products subject to a consignment, stocking or other
                replenishment agreement pass upon release of the Products from consigned inventory or at such other time set
                forth in such consignment, stocking or other replenishment agreement. Honeywell may direct Supplier to ship
                the Products to Honeywell or to any third party designated by Honeywell.
      12.4      No extra charges of any kind, including charges for storage, boxing, packing, loading, bracing, cartage, insurance
                or taxes, will be imposed by Supplier. Supplier will pack all Products in accordance with best commercial practices.
                Supplier will mark containers with information as required by Honeywell.
      13.0      INSPECTION. Final inspection and acceptance by Honeywell will be at destination unless otherwise specified in a
                Purchase Order. Honeywell may inspect all or a sample of Products, at its option, and may reject all or any portion
                of the Products within 60 days of delivery if Honeywell determines them to be the Products are defective or
                nonconforming. If Honeywell performs any inspection (other than the standard inspection) after discovering
                defective or nonconforming Products, any additional inspection costs will be paid by Supplier. No inspection,
                tests, approval, or acceptance of the Products will relieve Supplier from responsibility for any defects in the
                Products or other failure to meet the requirements of a Purchase Order, or for defects (latent or otherwise), fraud,
                such gross mistakes as amount to fraud, or Supplier’s warranty obligations. Honeywell reserves the absolute right
                to refuse acceptance of, or reject and return to Supplier at Supplier's sole cost and expense any material, Products
                that fail to conform to any applicable laws or regulations, or for which Supplier fails to package, ship, label or
                provide proper notice to Honeywell as required by any applicable law or regulation. If Products are defective or
                nonconforming, Honeywell may, by written notice to Supplier: (a) rescind this Purchase Order as to the Products;
                (b) accept the Products at an equitable reduction in price; or (c) reject the Products and require the delivery of
                replacements. Delivery of replacements will be accompanied by a written notice specifying that the Products are
                replacements. If Supplier fails to deliver required replacements promptly, Honeywell may: (1) correct any retained
                defective or nonconforming Products at Supplier’s expense; (2) replace them with Products from another supplier
                and charge the Supplier the cost thereof, including cover, and any incidental costs; or (3) terminate this Purchase
                Order for cause.
      14.0      TOOLING; HONEYWELL-SUPPLIED EQUIPMENT.
      14.1      All Honeywell supplied tooling, equipment or property and all tooling and property paid for by Honeywell,
                including the tooling listed on Exhibit D, is owned solely by Honeywell, including all intellectual property rights
                (“Tooling”). All Tooling is subject to the provisions of Exhibit D.
      14.2      Without limiting the generality of Section 14.1 hereof, title to any Tooling, material, components, equipment, or
                technical data that Honeywell pays for or provides to Supplier or is responsible for providing to Supplier, including
                replacements (“Honeywell Property”), will remain or vest with Honeywell. Supplier will conspicuously label
                Honeywell Property as such, maintain it in good condition, keep written records of the Honeywell Property in its
                possession and the location of the property, not allow any liens to be placed upon it, and not change its location
                without prior written approval from Honeywell. Supplier is responsible for inspecting and determining that the
                Honeywell Property is in useable and acceptable condition. Supplier will use Honeywell Property exclusively to
                fulfill Supplier’s obligations under this Agreement unless otherwise authorized in writing by Honeywell’s
                procurement representative. Honeywell Property is intended for use at the Supplier’s site only or as otherwise
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                authorized in writing by Honeywell’s procurement representative and, to the extent applicable, is subject to U.S.
                and other government export or re-export requirements. Supplier is responsible for any loss, damage, or
                destruction of Honeywell Property and any loss, bodily injury, damage or destruction resulting from Supplier’s use
                of Honeywell Property. Supplier will not include the cost of any insurance for Honeywell Property in the prices
                charged under this Agreement and, to the extent that any Products contain any Honeywell Property, will not
                include in the price of any such Product any mark-up or fee with respect to such Honeywell Property. Supplier
                will return Honeywell Property or dispose of it as Honeywell directs in writing. Honeywell makes no
                representations and disclaims all warranties (express or implied) with respect to Honeywell Property.
      15.0      IP LICENSE.
      15.1      Supplier grants to Honeywell a nonexclusive, nontransferable, worldwide, fully paid-up, perpetual, irrevocable
                license to directly and indirectly, use, distribute, import, export, display, and perform all intellectual property
                incorporated into the Products, or necessary or incidental to use the Products purchased under this Agreement
                (“IP”).
      15.2      Intentionally Omitted
      16.0      WARRANTIES.
      16.1      Supplier warrants to Honeywell, its successors, assigns, customers, and end users that for a period of 24 months
                from the date of first use the Products (including all replacement or corrected Products or components and
                regardless of whether all or any part of such furnished Products or any replacement or corrected Products was
                manufactured, distributed or otherwise commercialized by a third party prior to delivery by or on behalf of
                Supplier to Honeywell) will: (a) be new, free from defects in workmanship, and materials except to the extent that
                such Products comply with detailed designs provided by Honeywell; (b) conform to applicable drawings, designs,
                quality control plans, specifications and samples and other descriptions furnished or specified by Honeywell,
                including meeting the specifications set forth on Exhibit A; (c) not be or contain Counterfeit Items (as defined
                below), (d) be and only contain materials directly obtained from the original equipment manufacturer (“OEM”) or
                a reseller authorized by the OEM, (e) be merchantable; (f) be fit for the intended purposes and operate as
                intended; (g) comply with all laws and regulations; (h) be free and clear of any and all liens or other encumbrances;
                (i) contain only authentic, unaltered OEM labels and markings; (j) not infringe any patent, published patent
                application, or other intellectual property rights of any third party and not utilize misappropriated third party
                trade secret information; and (k) meet the other requirements of a Purchase Order. “Counterfeit Items” mean
                Components (as defined below), Products and software incorporated in a Product or Component that (i) are
                unauthorized copies or substitutes of an OEM item; (ii) are not produced in accordance with, or do not contain
                the proper materials or components as specified on, the OEM’s specifications or design; (iii) are used, refurbished,
                or reclaimed, but which are represented as being new; or (iv) are labeled, logoed or marked to mislead or deceive
                a reasonable person into believing a non-OEM item is genuine. To the extent that any Product contains any input,
                component or service that is warranted by a third party that has provided such input, component or service to
                Supplier, Supplier shall take all actions necessary to cause Honeywell, any Honeywell business unit, Honeywell
                subsidiary, and any Honeywell customer or other designee to be a third-party beneficiary of such warranty, it
                being acknowledged by Supplier that the foregoing third-party warranty shall be in addition to, and not in lieu of,
                all other warranties provided by Supplier in this Agreement. These warranties, and all other warranties, express
                or implied, will survive delivery, inspection, acceptance, and payment. Supplier must obtain third party warranties
                consistent with Section 16 for all raw materials, components, and services required by Supplier to perform under
                this Agreement (“Components”) and Supplier is solely responsible for ensuring that all Components meet these
                requirements. Any Component that fails to meet these requirements will be deemed to be a non-conforming
                Product. Supplier will promptly notify Honeywell in writing upon Supplier discovering that it has, or suspects that
                it may have, delivered a non-conforming Product or Counterfeit Item.
      16.2      Regarding software Products and software embedded in Products, Supplier warrants that:



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                (a)       There are no copy protection or similar mechanisms which will, either now or in the future, interfere with
                          the license grants made in this Agreement and Supplier has not and will not make commitments to other
                          parties which conflict with this Agreement;
                (b)       Supplier has used the latest technology to test the software and such tests have not revealed the presence
                          of any malicious code, program or other internal component (e.g., computer virus, computer worm,
                          computer time bomb, or similar component) which could damage, destroy, or alter software, firmware or
                          hardware, or which could, in any manner, reveal, damage, destroy or alter any data or other information
                          accessed through or processed by the software;
                (c)       The software does not infringe on another’s patent, copyright, trademark or trade secret;
                (d)       With respect to licensed software to which Supplier does not have title, Supplier has a license sufficient
                          to permit the license thereof to Honeywell pursuant to this Agreement;
                (e)       Identified Software, as thereinafter defined, in the Products or any licensed software is set forth on Exhibit
                          E. “Identified Software” is defined as software which is licensed pursuant to terms that directly or
                          indirectly: (a) create, or purport to create, obligations for Honeywell with respect to any Honeywell
                          intellectual property, or (b) grant, or purport to grant, to any third party any rights or immunities to the
                          intellectual property or proprietary rights in any software or other intellectual property products which
                          may be used in conjunction with the Products. Identified Software includes without limitation any open
                          source software and any software that requires, as a condition of use, modification and/or distribution of
                          such software that other software incorporated into, derived from or distributed with such software (x)
                          be disclosed or distributed in source code form; (y) be licensed for the purpose of making derivative works;
                          or (z) be redistributable at no charge;
                (f)       For any use of open source software (“Open Source Software”), including but not limited to any “copyleft”
                          software, such as that licensed pursuant to the GNU General Public License (“GPL”) or the lesser or library
                          GPL (“LGPL”), by Supplier in connection with Products, Supplier shall provide the source code (with
                          modifications, if any) for such software. Supplier represents and warrants that such Open Source
                          Software will not contain any components that are licensed under any license terms or other contract
                          terms (“Open License Terms”) which require, as a condition of use, modification, or distribution of such
                          software or any other software incorporated into, derived from, distributed with, or incorporating such
                          software (“Derivative Software”) any of the following: (a) that the source code of such software or any
                          Derivative Software be made available to third parties; (b) that permission for creating derivative works
                          of such software or any Derivative Software be granted to third parties; or (c) that a royalty-free license
                          be granted to third parties under any intellectual property rights contained in the software or any
                          Derivative Software. By means of example and without limitation, Open License Terms include the
                          following licenses or distribution models: the GPL, the LGPL, or any similar open source, free software, or
                          community licenses. Supplier shall indemnify and hold harmless Honeywell for all damages, costs,
                          expenses, claims, liabilities, and the like (including reasonable attorney’s fees and expenses) resulting
                          from any breach of this section; and
                (g)       Supplier hereby represents and warrants that it has taken all action required by the licenses for the
                          Identified Software set forth on Exhibit E, including complying with all requirements of any applicable
                          license for the Identified Software. Supplier will indemnify Honeywell for any costs, expenses, claims, or
                          liabilities relating to or arising out of any failure to comply with such applicable license terms or with the
                          incorporation of any Open Source Software into Products, and Supplier will comply with all requirements
                          imposed upon it by any license agreement relevant to any Open Source Software included in the software
                          or Products provided to Honeywell. Supplier further represents and warrants that all such licenses have
                          been made available to Honeywell and are available electronically at a location set forth on Exhibit E.
      16.3      If Products are found not to be as warranted in Section 16.1. 16.2 or 16.7, Honeywell may return such Products to
                Supplier, at Supplier’s expense, for correction, replacement, or credit, as Honeywell may direct. Any Products
                corrected or furnished in replacement will, from the date of delivery of such corrected or replacement Products,
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                be subject to the provisions of this Section 16.3 for the same period and to the same extent as the Products initially
                furnished.
      16.4      As to any services provided in connection with the Products, Supplier warrants that it possesses the requisite
                expertise, facilities and equipment necessary and appropriate to perform the services, and that all services will be
                performed in a safe and workmanlike manner. In addition to any other rights Honeywell may have, if the services
                are found not to be performed as warranted within a period of 1 year after the conclusion of the performance of
                the services by Supplier, Supplier will, at Honeywell’s option, either refund to Honeywell the amount paid for the
                services, or perform the services again in a proper manner to the extent necessary to provide Honeywell with the
                result originally contemplated by Honeywell.
      16.5      Supplier will furnish, upon Honeywell’s request, lien waivers by Supplier and all other persons or entities entitled
                to assert any lien rights in connection with the performance of this Agreement.
      16.6      If more than 1% of any batch of Products or of the aggregate Products sold and delivered to Honeywell exhibit the
                same failure to conform to the applicable specifications or contain the same defects in material or workmanship,
                then an “Epidemic Failure” shall be deemed to have occurred. Upon receipt of written notice from Honeywell to
                Supplier of any Epidemic Failure, Supplier shall promptly review the failed Products and data to determine if such
                Epidemic Failure is due to a common root defect in Supplier’s material or workmanship. Supplier shall provide an
                8D analysis within 48 hours of written notification of any such Epidemic Failure. A Supplier Corrective Action
                Report, (“SCAR”) may also be required. If such a determination is made, Supplier shall develop a plan to eliminate
                the problem in all continuing production and to correct the problem in all affected units of Product previously sold
                and delivered to Honeywell. Supplier shall submit such plan to Honeywell for Honeywell’s approval, such approval
                not to be unreasonably withheld. Upon receiving Honeywell’s approval, Supplier shall implement the corrective
                action, at its expense, including correction of the problem in all affected units of Product and reimbursement of
                Honeywell’s costs associated with such problem, as provided in the corrective action plan.
      16.7      Products covered by this Agreement will comply with all applicable treaties, laws, regulations of the place of
                manufacture and Canadian, European Union and U.S. state and federal laws, regulations and standards (a)
                concerning the importation, sale, design, manufacture, packaging and labeling of its Products, (b) regulating the
                sale of Products, and (c) relating to the environment and/or the toxic or hazardous nature of Products or their
                constituents, including (without limitation) the U.S. Toxic Substances Act, the U.S. Occupational Safety and Health
                Act, the U.S. Hazardous Communication Standard, the Federal Hazardous Substances Act, the California
                Proposition 65, European RoHS standards, and other current and subsequently applicable requirements; and
                Supplier agrees that it shall furnish promptly on request and provide all information and certifications evidencing
                compliance with such laws, regulations, standards and requirements.
      16.8      Supplier represents and warrants that it is under no obligation or restriction, nor will it assume any such obligation
                or restriction that does or would in any way interfere or conflict with, or that does or would present a conflict of
                interest concerning, the work to be performed for Honeywell under this Agreement
      17.0      INTELLECTUAL PROPERTY.
      17.1      Honeywell and Supplier, each and severally, retains exclusive ownership to all IP Rights relating to the Products
                supplied by a Party. “IP Rights” means design and manufacturing specifications, technical information, know-
                how, ideas, concepts, processes, procedure, designs, schematics, works of authorship, inventions, software,
                discoveries, and all intellectual property rights worldwide arising under statutory or common law or by contract
                and whether or not perfected, pending, now existing or hereafter filed, issued or acquired, including all patent
                rights; rights associated with works of authorship including copyrights and mask work rights; rights relating to the
                protection of trade secrets and confidential information; and any right analogous to those set forth herein. This
                agreement shall not act to transfer any IP Rights.
      17.2      Upon request, Supplier will notify Honeywell of any IP Rights owned or licensed by Supplier or third parties that
                apply to the Products or any parts thereof. Honeywell will not be required to pay royalties or any other sum for
                IP Rights owned or licensed by Supplier in connection with the Products.
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      17.3      If Supplier becomes aware that Products potentially infringe a third party’s IP Rights, Supplier will promptly notify
                Honeywell, provide all requested assistance concerning the potential infringement, and comply with its
                obligations under Section 18.2.
      18.0      LIABILITY AND INDEMNIFICATION.
      18.1      Supplier will, at its expense, defend, hold harmless and indemnify Honeywell and its customers, subsidiaries,
                affiliates, and agents, and their respective officers, directors, shareholders, and employees, (collectively
                "Indemnitees") from and against any and all loss, cost, damage, claim, demand, penalty, or liability, including
                reasonable attorney and professional fees and costs, and the cost of settlement, compromise, judgment, or
                verdict incurred by or demanded from the Indemnitee (“Loss”) arising out of, resulting from or occurring in
                connection with Supplier’s Products or the performance of services by Supplier or its personnel (including any
                employment-related Loss arising out of, resulting from or occurring in connection with the performance), the acts,
                omissions, negligence or willful misconduct of Supplier or its personnel, Supplier’s breach of the terms of this
                Agreement, or any theft or other misappropriation of Honeywell’s or its personnel’s information, property or
                funds by Supplier or its personnel. Indemnitees may participate in the defense and negotiations to protect their
                interests. Supplier will not enter into any settlement or compromise without Honeywell’s prior written consent,
                which will not be unreasonably withheld. If Honeywell is obligated to pay any Loss or any damages pursuant to
                its contract with a customer, then Supplier will be liable for such Loss any damages to the extent Supplier causes
                or contributes to such Loss or any damages. Furthermore, in the event a recall or other corrective action relating
                to Supplier’s Products is necessitated by a defect or a failure to conform to any laws, regulations or specifications,
                Supplier shall bear all costs and expenses of such recall or other corrective action, including without limitation,
                costs of notifying customers, customer refunds, cost of returning goods, and other expenses incurred to meet
                obligations to third parties. Nothing in this Section limits Honeywell’s right to claim all actual damages sustained
                by Honeywell as a result of Supplier-caused delays.
      18.2      For Products provided under this Agreement, Supplier will, at its expense, defend and indemnify each Indemnitee
                from and against any and all loss, cost, damage, claim, penalty, or liability, including reasonable attorney and
                professional fees and costs, and the cost of settlement, compromise, judgment, or verdict incurred by or
                demanded from any Indemnitee arising out of, or relating to any alleged or actual: (a) patent, copyright, or
                trademark infringement; (b) unlawful disclosure, use, or misappropriation of a trade secret; or (c) violation of any
                other third-party intellectual property right, and from expenses incurred by any Indemnitee in defense of such
                suit, claim, or proceeding if Supplier does not undertake the defense thereof. Supplier will not enter into any
                settlement without Honeywell’s prior written consent, which will not be unreasonably withheld. Any Indemnitee
                may participate in the defense or negotiations to protect its interests. If any injunction or restraining order is
                issued, Supplier will, at Honeywell’s option and Supplier’s expense, obtain for an Indemnitee either the right to
                continue using and selling the Products or replace or modify the Products to make them noninfringing; without
                any loss of functionality.
      18.3      If Products are defective or fail to meet specifications, Supplier will use commercially reasonable efforts to assist
                Honeywell in implementing corrective action with respect to such defects or failure. These efforts include, without
                limitation, increasing manufacturing volumes by adding shifts and machine capacity at Supplier’s expense, and
                implementing Product changes requested by Honeywell as quickly as possible. In addition to any other remedies
                that may be available to it, Honeywell may charge, and Supplier agrees to pay, costs, penalties, fees and expenses
                associated with administering, handling and processing any late delivery or any delivery of non-conforming
                Products to Honeywell.
      19.0      CONFIDENTIALITY.
      19.1      “Confidential Information” means any written or machine-readable information (or oral information reduced to
                writing or summarized in writing) that the disclosing party considers proprietary or confidential and marks as
                “confidential”, “proprietary”, “sensitive” or with words of similar meaning. All documentation containing
                specifications, Product designs or Product-specific information provided to Supplier by Honeywell are Confidential
                Information whether or not so marked. The parties may exchange Confidential Information during the
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                performance or fulfillment of this Agreement. All Confidential Information will remain the property of the
                disclosing party and will be kept confidential by the recipient for a period of ten (10) years following the date of
                disclosure. Neither party will use Confidential Information received from the other party to compete with the
                other party or for any purpose other than the fulfillment of this Agreement. Software will be kept confidential
                perpetually. These obligations will not apply to information which is: (a) publicly known at the time of disclosure
                or becomes publicly known through no fault of recipient; (b) known to recipient at the time of disclosure through
                no wrongful act of recipient; (c) received by recipient from a third party without restrictions similar to those in
                this section; or (d) independently developed by recipient. Each party will retain ownership of its Confidential
                Information, including without limitation all rights in patents, copyrights, trademarks, trade secrets and any other
                intellectual property rights. Each party hereby grants to the other party a non-exclusive license to use its
                Confidential Information disclosed in connection with this Agreement solely for performance of the recipient’s
                obligations under this Agreement. Except as expressly authorized under this Agreement, no party may transfer
                or disclose Confidential Information or assign its rights or obligations under this Section without the prior written
                consent of the disclosing party. All other transfers or assignments shall be null and void.
      19.2      The parties acknowledge that damages for violation of the confidentiality obligations of this Section 19 may be
                inadequate, and the parties agree that injunctive relief for any breach of this Agreement by the recipient of
                Confidential Information may be had in addition to any other remedies available.
      19.3      Upon termination of this Agreement or upon request of the disclosing party, whichever occurs first, the recipient
                will promptly return to the disclosing party all Confidential Information received under this Agreement, together
                with any and all copies thereof, or, if disclosing party so requests, the recipient will destroy all such Confidential
                Information and provide the disclosing party with a written certification of the destruction.
      19.4      Supplier will not publicly announce or disclose the existence of this Agreement or its terms and conditions, or
                advertise or release any publicity regarding this Agreement without the prior written consent of Honeywell.
                Furthermore, Supplier will not claim or suggest, implicitly or explicitly, that Honeywell’s purchase of its Products
                use of its services or deliverables constitutes Honeywell’s endorsement of its Products, services or deliverables.
      19.5      In the event that the parties to this Agreement have entered into a non-disclosure agreement prior to the Effective
                Date, such non-disclosure agreement is incorporated herein by reference and, notwithstanding any other
                provisions to the contrary within such non-disclosure agreement, will remain in full force and effect throughout
                the term of this Agreement.
                19.6      “Personal Data” means any information relating to an identified or identifiable natural person; an
                          identifiable person is one who can be identified, directly or indirectly, in particular by reference to an
                          identification number or to one or more factors specific to his physical, physiological, mental, economic,
                          cultural or social identity. The Parties agree that they will treat any Personal Data of all officers, directors,
                          employees, agents, contractors, customers, and suppliers that is received under this Agreement as
                          Confidential Information. The Parties agree that the Supplier will be the Data Processor (as defined in the
                          EU Data Protection Directive 95/46/EC or any successor Directive) for the purposes of processing Personal
                          Data pursuant to this Agreement. Supplier will: (a) take appropriate technical and organizational security
                          measures as are reasonably required by Honeywell to protect Personal Data; (b) use and permit
                          employees and third parties to use Personal Data pursuant to Honeywell’s instructions only for purposes
                          directly related to the provision of Products or performance of services or related obligations under this
                          Agreement; (c) refrain from transferring Personal Data out of the European Union unless Honeywell has
                          given its prior written consent to the transfer and Supplier has satisfied any further requirements
                          reasonably imposed by Honeywell. If with Honeywell’s prior permission Supplier will process Personal
                          Data that Honeywell transfers from any of its affiliates in the European Union to any of its affiliates in the
                          U.S. pursuant to the U.S. - EU Safe Harbor Framework (“Safe Harbor Personal Data”), Supplier warrants
                          that either Supplier self-certifies to the U.S. – EU Safe Harbor Framework with respect to the processing
                          of the Safe Harbor Personal Data and will notify Honeywell immediately if its self-certification terminates
                          for any reason, or Supplier must provide at least the same level of privacy protection as required by the
                          U.S. – EU Safe Harbor Framework; (d) indemnify Honeywell against all losses, costs, expenses, damages,
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                          liabilities, demands, claims, actions or proceedings which Honeywell may suffer or incur arising out of any
                          breach of this Section; and (e) promptly notify Honeywell about: any legally binding request for disclosure
                          of Personal Data by a law enforcement agency (unless otherwise prohibited); any accidental or
                          unauthorized processing of Personal Data; and any requests received from individuals to whom Personal
                          Data relates, without responding to that request unless it has been otherwise authorized to do so by
                          Honeywell. With the exception of Personal Data, this Agreement imposes no obligation upon Supplier if
                          Supplier can demonstrate that the Confidential Information: (a) was rightfully in Supplier’s possession
                          before receipt from Honeywell and was not accompanied by a duty of confidentiality; (b) is or becomes a
                          matter of public knowledge through no fault of Supplier; (c) is rightfully received by Supplier from a third
                          party and is not accompanied by a duty of confidentiality; (d) is disclosed by Honeywell to a third party
                          without a duty of confidentiality on the third party; (e) is independently developed by Supplier without
                          use of Honeywell’s Confidential Information; or (f) is disclosed under operation of law, provided Supplier
                          notifies Honeywell and upon Honeywell’s request and at Honeywell’s cost cooperates in all reasonable
                          respects to contest the disclosure or obtain a protective order or other remedy.
      20.0      TRADEMARK. Honeywell will have the right to market the Products under its own trademark, trade name or
                product designation. Supplier will not use any trademark or trade names of Honeywell without (a) first obtaining
                Honeywell’s written permission, and (b) entering into a trademark license agreement as set forth in Exhibit F to
                this Agreement.
      21.0      OFFSET; DRAWBACK.
      21.1      Supplier will assist Honeywell in obtaining credit from Supplier’s government for the value of Products or related
                services purchased hereunder to meet any present or future contractual offer or industrial benefit requirements
                imposed upon Honeywell or its subsidiaries or affiliates, if any. Honeywell reserves the right to claim these credits
                on behalf of itself or its customers, suppliers or other third parties. If Supplier awards a portion of the work
                hereunder to a supplier, Supplier will assign to Honeywell any credits obtained from the supplier’s government, if
                any, relating to the transaction and will assist Honeywell in obtaining those credits.
      21.2      To the extent applicable to any shipment of Products to Honeywell or Honeywell’s designee, all drawback of
                duties, and rights thereto, related to duties paid by Supplier or Honeywell when the Products are imported or any
                materials or components used in manufacturing of the Products will accrue to the exclusive benefit of Honeywell.
                Duty drawback rights include rights developed by substitution and duty drawback rights obtained from sub-tier
                suppliers related to the Products. Supplier will provide Honeywell with all documents, records, and other
                supporting information necessary to obtain any duty drawback, and will reasonably cooperate with Honeywell to
                obtain payment.
      22.0      COMPLIANCE WITH LAWS; INTEGRITY.
      22.1. Supplier and its employees, agents, representatives and subcontractors will comply with all laws, regulations and
            ordinances and Honeywell’s Code of Business Conduct (“Code”) in performing this Agreement. A copy of the Code
            may be obtained at http://honeywell.com/About/Pages/code-of-business-conduct.aspx. Supplier agrees to abide
            by and maintain an integrity and compliance program that encompasses at a minimum the standards of business
            conduct set forth in the Code and that effectively prevents and corrects ethical violations and maintains compliance
            with laws. Supplier and its employees, agents, representatives and subcontractors have not made or received, and
            will not make or receive, directly or indirectly, any payments, loans, gifts, favors or other special consideration or
            form of compensation (a) to or from Honeywell, to its employees, agents or representatives, other than payments
            set forth in this Agreement or other written contractual agreement between Supplier and Honeywell; or (b) to or
            from any third party for the purpose of influencing the performance by Supplier or Honeywell of its respective
            duties hereunder. Supplier must have a management system dedicated to compliance with applicable
            environmental, health and safety laws and regulations to ensure a safe working environment for its employees and
            responsible care of materials to prevent a negative impact on the environment (for example: ISO14001:2004/OHAS
            18001:2007).

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      22.2. Upon request, in form and substance satisfactory to enable Honeywell to meet its compliance obligations with
            regard to Regulation (EC) No 1907/2006 (“REACH”), Supplier will provide Honeywell with complete information
            regarding the chemical composition (substances, preparations, mixtures, alloys or goods) of any Products supplied
            under this Agreement, including all safety information required under REACH and information regarding the
            registration or pre-registration status of any Deliverables pursuant to REACH promptly but no later than 45 days of
            receiving such request. Supplier agrees that it will include any Honeywell “Identified Use” in its REACH registrations
            or applications for Authorization, unless Supplier notifies Honeywell that it rejects the Identified Use in order to
            protect human health or the environment and specifies the reason for the rejection. In this case Honeywell will
            have the right to terminate this Agreement without incurring any damages.
      22.3. Absent Honeywell’s prior written consent, no Products will contain any of the substances identified in (a) Article
            4(1) of the European Parliament Directive 2011/65/EU (the “RoHS Directive”) as the RoHS Directive may be updated
            from time to time and as such Directive is implemented in any country, but only to the extent that the Directive
            applies to the commercialization, sale or use of such Products, or (b) similar applicable laws or regulations
            (including, without limitation, the United States Department of Transportation and California Proposition 65),
            restricting the use of hazardous materials in such other jurisdictions to the extent that any such law or regulation
            applies to the commercialization, sale or use of such Products. If such prior written consent is given, then Supplier
            shall inform Honeywell in writing of same, and properly warn, label, package and ship such hazardous materials in
            accordance with all applicable laws and regulations. Further, prior to shipment and upon request, Supplier shall
            identify and provide to Honeywell compliant material safety data sheet information and RoHS Directive information
            for covered Products.
      22.4. Products will not include any of the restricted chemicals set forth in the Montreal Protocol on ozone-depleting
            substances. Supplier will avoid use of materials of concern in the Products provided to Honeywell, including but not
            limited to Persistent, Bioaccumulative Toxic (PBT) substances, Persistent Organic Pollutants (POPs) (e.g. PCBs,
            mercury, certain insecticides-DDT, chlordane etc.), carcinogens (known or suspected), mutagens, radioactive
            materials, reproductive toxins (known or suspected), beryllium, hexavalent, chromium, asbestos or other respirable
            fibers, ozone depleting substances, brominated flame retardants or nanoparticles. Supplier will proactively inform
            Honeywell of any above listed substances content in any Products supplied under a Purchase Order.
      22.5. If applicable, Supplier will be responsible for all costs and liabilities for or relating to the disposal and/or recycling
            of materials, waste and Products.
      22.6. All Products conform to all applicable European Union harmonization legislations relating to products which are
            intended to be placed on the market in the European Economic Area including, without limitation, CE marking
            Directives and Directives, as such directives are updated from time to time and enacted by the national laws (“EU
            Harmonization Legislation”). Supplier will ensure that the Products have been designed and manufactured in
            accordance with the requirements of the EU Harmonization Legislation. Supplier will, at its cost, take all measures
            necessary to ensure that the design and manufacturing processes assure compliance of the Products. As Honeywell
            may be considered a manufacturer of the Products for the purposes of certain Directives of the EU Harmonization
            Legislation, Supplier expressly agrees, at its cost, to assist Honeywell with fulfilling the obligations of a manufacturer
            under said Directives.
      22.7 US Equal Employment Opportunity Regulations. To the extent employment activities of Supplier occur in the United
           States and if otherwise applicable this contractor and subcontractor shall abide by the requirements of 41 CFR §§
           60-1.4(a), 60-300.5(a) and 60-741.5(a). These regulations prohibit discrimination against qualified individuals
           based on their status as protected veterans or individuals with disabilities, and prohibit discrimination against
           all individuals based on their race, color, religion, sex, or national origin. Moreover, these regulations require
           that covered prime contractors and subcontractors take affirmative action to employ and advance in
           employment individuals without regard to race, color, religion, sex, national origin, protected veteran status or
           disability.
      22.8.     In accordance with applicable “Conflict Minerals” laws, Honeywell must determine whether its products contain
                tin, tantalum, tungsten or gold (“3TG”) originating in the Democratic Republic of the Congo and adjoining
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                countries (“Conflict Minerals”). To the extent Supplier supplies Products containing 3TG to Honeywell under this
                Agreement or any Purchase Order, Supplier commits to have a supply chain process to ensure and document a
                reasonable inquiry into the country of origin of the 3TG minerals incorporated into such Products. If requested,
                Supplier will promptly provide information or representations that Honeywell reasonably believes are required to
                meet its conflict minerals compliance obligations.
      22.9      To the extent deemed applicable by Honeywell, Supplier will also comply with Honeywell’s (a) Information and
                System Security Supplier Terms and Conditions and (b) Product Security Terms and Conditions.
      22.10 Supplier will implement the Business Partner Criteria of any Supply Chain Security Program that the country of
            import for the Products may adopt such as the U.S. Customs-Trade Partnership Against Terrorism (C-TPAT) or the
            Canadian Partners in Protection (PIP) Program.
      22.11 The parties agree that Supplier will perform its obligations under this Agreement as an independent contractor.
            Supplier will be solely responsible for all Employer Obligations with respect to Supplier personnel, even if a court
            or other body deems the personnel to be Honeywell employees. “Employer Obligations” means all obligations of
            any kind imposed customarily or by law or agreement on persons acting in the capacity of an employer, including,
            without limitation, responsibility for (a) hiring, assigning, compensating, and terminating personnel; (b)
            withholding and paying taxes; (c) verification of employment eligibility, including compliance with work
            authorization and immigration laws and export licensing and control requirements; (d) compliance with all federal,
            state, and local laws (both common and statutory) and regulations related to employment and the rights of
            personnel. Supplier represents and warrants that it and all its subcontractors, if any, comply and will continue to
            comply with all applicable employment laws and regulations related to personnel working on Honeywell matters,
            that all personnel working on Honeywell matters are authorized to work in the relevant jurisdiction, and that it
            does not employ child or forced labor.
      23.0      INSURANCE. Supplier will maintain and carry liability insurance in an amount no less than the greater of (a) the
                minimum amount required by applicable law, or (b) the following coverages: commercial general liability (including
                product liability and, for services to be performed, completed operations liability) in a sum no less than $5 million,
                automobile liability in a sum no less than $5 million, worker’s compensation in an amount no less than the
                applicable statutory minimum requirement, and employer’s liability in an amount of no less than $1 million, all with
                insurance carriers with an AM Bests rating of no less than A or equivalent. Prior to commencing performance
                under this Agreement, Supplier will furnish valid Certificates of Insurance to Honeywell evidencing the insurance
                required herein. Each Certificate of Insurance will provide that 30 days prior written notice must be given to
                Honeywell in the event of cancellation or material change of insurance coverage and must contain the following
                endorsements: (x) Honeywell is named as an additional insured on each of the liability insurance policies except
                Worker’s Compensation; (y) the insurance carrier extends the coverage to include the contractual liability of
                Supplier arising by reason of the indemnity provisions of this Agreement; and (z) the insurance carrier waives all
                rights of subrogation against Honeywell. For avoidance of doubt, the limitations of liability set forth in this
                Agreement will not be construed to limit Honeywell’s right to pursue claims payable under this Section.
      24.0      MISCELLANEOUS.
      24.1      This Agreement, together with any previously executed agreement(s) pertaining to confidentiality and/or non-
                disclosure, constitutes the entire agreement of Honeywell and Supplier regarding the subject matter hereof,
                superseding all prior agreements or understandings, written or oral and it may not be modified, extended,
                canceled or rescinded except in a writing signed by the parties which expressly references this Agreement. This
                Agreement does not affect the rights and obligations which have accrued under any prior agreements with respect
                to the performance or nonperformance thereof. Supplier shall not assign this Agreement or any interest therein
                nor subcontract any work under any Purchase Order. No representation, warranty, course of dealing, or trade
                usage not contained or expressly set forth herein will be binding on with party. Headings and captions are for
                convenience of reference only and do not alter the meaning or interpretation of these terms and conditions. No
                failure or delay by either party to enforce at any time for any period the provisions hereof shall be construed as a
                waiver of such provision or of the right of such party to enforce thereafter each and every provision. In the event
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                any provision herein is determined to be illegal, invalid, or unenforceable, the validity and enforceability of the
                remaining provisions shall not be affected and, in lieu of such provision, a provision as similar in terms as may be
                legal, valid, and enforceable shall be added hereto. Neither party will be liable for failure to perform any of its
                obligations under this Agreement due to a force majeure event and which are unforeseeable; provided that the
                party delayed immediately notifies the other party and will use its best efforts to mitigate the effects of the delay
                and to remedy the delay if it can be remedied. If Supplier’s performance is delayed, Honeywell may terminate
                this Agreement or any Purchase Order upon 2 days prior written notice. If Supplier cannot deliver Products
                because of a force majeure condition, Honeywell may immediately seek substitute performance. All remedies set
                forth in this Agreement are in addition to, and will in no way limit, any other rights and remedies available at law
                or in equity. Nothing in this Agreement will be construed to place Supplier and Honeywell in an agency,
                employment, franchise, joint venture, or partnership relationship. Neither party has the authority to obligate or
                bind the other in any manner, and nothing contained in this Agreement will give rise or is intended to give rise to
                rights of any kind to any third parties. Neither party will make any representation to the contrary. This Agreement
                may be signed in one or more counterparts (including faxed or electronically scanned copies), each of which will
                be deemed one and the same original. Reproductions of this executed original (with reproduced signatures) will
                be deemed to be original counterparts of this Agreement.
      24.2      All notices, requests, demands and other communications under this Agreement must be in writing and will be
                deemed to have been duly given (a) on the date of service if served personally on the party to whom notice is to
                be given, (b) on the first business day after delivery to Federal Express or similar overnight courier or the Express
                Mail service maintained by the United States Postal Service, properly addressed, to the party as follows:


                                             Honeywell                                         Supplier
                     Name: Lance Gifford                                Name: Jim Rideout
                     Title: NPI Procurement Lead, High Risk Safety      Title: Western District Manager,
                     Phone: +1 (714) 427-5220                           Phone: +1 (310) 393-7639
                     Address 1: Honeywell Safety Products               Address 1: Shinano Kenshi Americas
                     Address 2: 3001 S. Susan Street                    Address 2: 6065 Bristol Parkway
                     City, State, Zip: Santa Ana, CA 92704 USA          City, State, Zip: Culver City, CA 90230 USA


                Copy to:
                                             Honeywell                                         Supplier
                     Name: Joshua Foster                                Name: Nick Lauro
                     Title: Vice President and General Counsel          Title: Vice President, Financing Office
                     Phone : (516) 577-2642                             Phone: +1 (310) 693-7604
                     Address 1: Honeywell Industrial Safety             Address 1: Shinano Kenshi Corp.
                     Address 2:2 Corporate Center Drive                 Address 2:6065 Bristol Parkway
                     City, State, Zip. Melville, NY 11747               City, State, Zip: Culver City, CA 90630 USA


      24.3      The construction, interpretation, performance, and enforcement of this Agreement, all transactions hereunder
                and the parties relationship in connection therewith or any related claims whether founded in contract, tort or
                otherwise, will be governed by the laws of the State of New York, U.S.A. without regard to or application of its
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                principles or laws regarding conflicts of laws, and excluding the United Nations Convention on the International
                Sale of Goods of 1980 (and any amendments or successors thereto), and the federal or state courts in New York,
                New York will have exclusive jurisdiction of any dispute.
      24.4      In the event Honeywell divests a subsidiary, division or business unit, Supplier will extend the right to purchase
                Products and services pursuant to this Agreement to such subsidiary, division or business unit for a period not to
                exceed 12 months from the date of divestiture under the terms of this Agreement.
      24.5      If Honeywell acquires a company that is a customer of Supplier, Supplier will permit the termination, at
                Honeywell’s option, of the acquired entity’s agreement with Supplier without liability so that the products and
                services provided to the acquired entity may be provided pursuant to the terms, conditions, rates and charges
                contained in this Agreement between Honeywell and Supplier.
      24.6      This Agreement has been negotiated at arms length between parties who are experienced and knowledgeable in
                the matters contained in this Agreement, and the parties hereby agree that any statute, law or common law
                principles or other authority that would require interpretation of any ambiguities in this Agreement against the
                party who has drafted it are not applicable and are hereby waived.




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      The parties have executed this Agreement on the dates set forth below.


      HONEYWELL INTERNATIONAL INC.                             SUPPLIER




      By:                                                      By:
               Magalie Darfeuil                                         Jim Rideout
      Name:                                                    Name:

                  SPS CPO                                                 Western District Manager
      Title:                                                   Title:
                                                                        9/29/2017
      Date: 10/9/2017                                          Date:




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                            Exhibit A – Products, Minimum Stocking Level, Pricing, Lead-times and Specifications

      For delivery to: 1757 Carr Road, Calexico, CA 92231 for cross-border transshipment to Honeywell’s location at Calle
      Electra #1099 Parque Industrial Maran, Mexicali, BC, 21385 Mexico:

                                                                                                                    PO
                                                                                MOQ                                          Min/Max
                                                                                          Minimum     Maximum      Lead
        HON Part      Supplier Part                                           (Master                                      Replenishment
                                                 Description   UOM   Price                Inventory   Inventory    Time
          No.             No.                                                  Carton                                        Lead Time
                                                                                           Quantity    Quantity   (Week
                                                                              Multiple)                                     (Week Days)
                                                                                                                   Days)
        50126420     DRF-29312-033       Air Pump Assembly     EA    $77.10     100         400         800         5           60
                                                               EA
                                                               EA




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                                                        Exhibit B – Stocking Program

      Supplier will monitor the stocked Products to ensure compliance with this Exhibit B and will adjust the number of stocked
      Products as necessary to comply with the terms of this Exhibit B and the Forecasts.

      Honeywell will issue Purchase Orders to Supplier for the release of Products as required. Honeywell has no liability for
      stocked Products until Honeywell provides such Purchase Order.

      Supplier will warehouse stocked Products at Supplier’s facility. The minimum level of stocked Products to be warehoused
      by Supplier (“Minimum Level”) is set forth on Exhibit A. Supplier must maintain at least the Minimum Level of stocked
      Products. Supplier will notify Honeywell weekly or on such other schedule as may be mutually agreed of the Honeywell
      part numbers, Honeywell Purchase Order numbers and quantity of Products warehoused at Supplier’s facility.

      Supplier will store stocked Products in such a way that they can be readily distinguished from other inventory and in a
      secure location, and as otherwise reasonably specified by Honeywell. Supplier bears the custodial risk of loss or damage
      to the stocked Products prior to their release, whether such loss be through fire, flood, tornado or other catastrophe.
      Supplier shall be responsible for all taxes on the Products prior to their release.

      Upon termination of this Agreement by Honeywell for convenience, unless as the result of Epidemic Failure as defined in
      Section 16.6, Honeywell will purchase stocked Products custom-made to Honeywell’s specifications up to the Maximum
      Level, including any Products in transit, and any non-cancellable, non-returnable materials exclusive to Honeywell and
      purchased in support of the Forecast.




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                                              Exhibit C – Quality Procedures and Product Certifications

      Quality System and Quality Assurance Procedures:

      Q004 Quality Assurance Requirements for Suppliers


           Q004.pdf




      QA-PSW Part Submission Warrant for PPAP Level 3 required.


       QA-PSW template
      (Part Submit Warrant PPAP) Rev C.xls


      Product Certifications:

      None required for these parts.




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                                                              Exhibit D – Tooling

      1.        Supplier will not lease, assign, loan or sell any of the Tooling or any interest therein, without Honeywell’s prior
                written consent. Supplier will keep the Tooling free and clear of all liens, claims, and encumbrances during the
                term of this Agreement. Supplier consents to the filing of a financing statement(s) by Honeywell indicating that
                the Tooling is bailed property of Honeywell.
      2.        Supplier will use the Tooling exclusively in connection with work performed for Honeywell. Supplier shall not copy,
                duplicate or use Tooling other than as directed in writing by the Honeywell. Supplier is solely responsible for (a)
                the installation of the Tooling and any and all devices necessary for the proper operation of the Tooling, and (b)
                training operators and others as necessary in the proper operation, use, application and maintenance of the
                Tooling.
      3.        For Tooling provided by Honeywell to Supplier: (a) Supplier accepts the Tooling “AS IS, WHERE IS”; (b) Honeywell
                makes no warranties, express or implied, with respect to the Tooling, and expressly disclaims all warranties,
                INCLUDING ANY WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE; and (c) to the
                extent permitted by the manufacturer, Honeywell assigns to Supplier during the term of this Agreement all of
                Honeywell’s rights under applicable manufacturers’ warranties with respect to the Tooling.
      4.        Supplier assumes full responsibility and risk of loss for the Tooling and its use. Supplier, at its expense, will keep
                the Tooling insured against all risks of direct physical loss for not less than its full insurable value. If Supplier fails
                to insure the tools, Supplier agrees that Honeywell may acquire insurance and recover the cost from any amounts
                owed by Honeywell to Supplier. Supplier will pay all fees, assessments and taxes imposed on the Tooling during
                the Term.
      5.        Supplier will notify Honeywell of any repair, replacement or renewal of the Tooling. Supplier, at its sole cost, will
                properly maintain the Tooling in good order and condition, save normal wear and tear, and repair or replace the
                Tooling as required. Supplier will comply with (a) all manufacturers’ instructions regarding the Tooling and (b)
                Honeywell’s Maintenance Checklist provided to Supplier from time to time. Supplier will not alter the Tooling nor
                affix or connect any accessory device to the Tooling, if such alteration or addition would impair or reduce the
                value of such Tooling or would impair the safe use, operation or application of the Tooling.
      6.        Honeywell may inspect the Tooling and observe its use. Supplier will not remove the Tooling from its premises
                without Honeywell’s prior written approval. Any Tooling may be removed by Honeywell at any time, and Supplier
                will, at its cost, prepare the Tooling for transport and ship it to the location requested by Honeywell. Upon
                termination of this Agreement, at Honeywell’s option, Supplier will, at its sole cost, prepare the Tooling for
                transport and ship it to the location requested by Honeywell. Upon termination of this Agreement, Honeywell
                may, in its discretion, without notice, liability or legal process, enter Supplier’s premises and take possession of
                the Tooling.
      7.        Two sides of each piece of Tooling must be painted in red and each piece of Tooling must have an identification
                metal tag, affixed on the tool, containing the following information:
                “HONEYWELL PROPERTY”
                Honeywell inventory number – “Serial Number”
                Tool number / Part number
                Model (part) name
                Production start date
                All the jigs, fixtures, connecting ring, electrical connectors must be marked with a metal tag containing the
                following information:
                “HONEYWELL PROPERTY”
                Tool number (for which tool number it is used)



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                                                            Tooling Description


                                                                         DATE ISSUED
                  (Honeywell)___________________________
                  TOOL INVENTORY (SERIAL )NUMBER


                  TOOL NUMBER / PART NUMBER                              PRODUCTION START DATE


                  MODEL ( PART ) NUMBER                                  DEPRECIATION QTY




                  TOOL NAME                                        QTY         TOOL COST     WEIGHT




                Attach 3” x 5” picture of tool in this area with identification tag shown.




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                                                               Exhibit E

                                                      INTENTIONALLY OMITTED




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                                                               EXHIBIT F


                                                      INTENTIONALLY OMITTED




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